          Case 1:07-cv-00356-SM Document 4 Filed 11/26/07 Page 1 of 2




Michael Newdow, pro hac vice status pending
PO Box 233345
Sacramento, CA 95823
(916) 427-6669

Rosanna Fox, NH SBN: 17693
O’Brien Law Firm, P.C.
One Sundial Avenue, Fifth Floor
Manchester, NH 03103
(603) 627-3800
________________________________________________________________________

                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

Civil Action No. 1:07-cv-356-JM

THE FREEDOM FROM RELIGION FOUNDATION;
JANE DOE AND PAT DOE, PARENTS; DOECHILD-1, DOECHILD-2 and
DOECHILD-3, MINOR CHILDREN;

                                                Plaintiffs,

v.

THE CONGRESS OF THE UNITED STATES OF AMERICA;
THE UNITED STATES OF AMERICA;
THE HANOVER SCHOOL DISTRICT (“HSD”);
THE DRESDEN SCHOOL DISTRICT (“DSD”);
SCHOOL ADMINISTRATIVE UNIT 70 (“SAU #70”);

                                                Defendants.

________________________________________________________________________

                             CERTIFICATE OF SERVICE
________________________________________________________________________

I HEREBY CERTIFY that true and correct copies of :

      Plaintiffs’ Motion to Admit Pro Hac Vice; and
      Affidavit of Michael Newdow in Support of Motion to Admit Pro Hac Vice
           Case 1:07-cv-00356-SM Document 4 Filed 11/26/07 Page 2 of 2




were served electronically by CM/ECF to counsel for the Federal defendants and were / will be
mailed on this 26th day of November, 2007, to:

                              David Bradley
                              41 South Park Street
                              Hanover, NH 03755

Mr. Bradley is counsel for the School District defendants.




                                                    /s/ – Michael Newdow

                                                    Michael Newdow, Attorney at Law
                                                    PO Box 233345
                                                    Sacramento CA 92823
                                                    (916) 427-6669
